                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                                  Chapter 11

PROMISE HEALTHCARE GROUP, LLC, et al.1                                  Case No. 18-12491 (CSS)

                   Debtors.                                             Jointly Administered

                                                                        Re: Docket No. 37, 173


   SUPPLEMENTAL OBJECTION OF OFFICIAL COMMITTEE OF UNSECURED
           CREDITORS TO DEBTORS’ MOTION FOR ENTRY OF ORDERS
  (I) (A) ESTABLISHING BIDDING PROCEDURES RELATING TO THE SALE OF
 CERTAIN OF THE DEBTORS’ ASSETS, INCLUDING APPROVING A BREAK-UP
   FEE AND EXPENSE REIMBURSEMENT, (B) ESTABLISHING PROCEDURES
        RELATING TO THE ASSUMPTION AND ASSIGNMENT OF CERTAIN
EXECUTORY CONTRACTS AND UNEXPIRED LEASES, INCLUDING NOTICE OF
PROPOSED CURE AMOUNTS, (C) APPROVING FORM AND MANNER OF NOTICE
 RELATING THERETO, AND (D) SCHEDULING A HEARING TO CONSIDER THE
      PROPOSED SALE; (II) (A) APPROVING THE SALE OF CERTAIN OF THE
          DEBTORS’ ASSETS FREE AND CLEAR OF ALL LIENS, CLAIMS,
ENCUMBRANCES, AND INTERESTS, (B) AUTHORIZING THE ASSUMPTION AND
    ASSIGNMENT OF CERTAIN EXECUTORY CONTRACTS AND UNEXPIRED
 LEASES, AND (C) AUTHORIZING SUCCESS HEALTHCARE 1, LLC TO GRANT
                 LIENS; AND (III) GRANTING RELATED RELIEF


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 The Debtors in these Chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
number, are as follows: HLP HealthCare, Inc. (8381), PH-ELA, Inc. (9180), Professional Rehabilitation Hospital,
L.L.C. (5340), Promise Healthcare #2, Inc. (1913), Promise Healthcare Group, LLC (1895), Promise Healthcare
Holdings, Inc. (2601), Bossier Land Acquisition Corp. (6644), HLP of Los Angeles, LLC (9102), HLP of
Shreveport, Inc. (1708), HLP Properties at The Villages Holdings, LLC (0006), HLP Properties at the Villages,
L.L.C. (1938), HLP Properties of Vidalia, LLC (4255), HLP Properties, Inc. (0068), Promise Healthcare of
California, Inc. (9179), Promise Healthcare, Inc. (7953), Promise Hospital of Ascension, Inc. (9219), Promise
Hospital of Baton Rouge, Inc. (8831), Promise Hospital of Dade, Inc. (7837), Promise Hospital of Dallas, Inc.
(0240), Promise Hospital of East Los Angeles, L.P. (4671), Promise Hospital of Florida at The Villages, Inc.
(2171), Promise Hospital of Louisiana, Inc. (4886), Promise Hospital of Lee, Inc. (8552), Promise Hospital of
Overland Park, Inc. (5562), Promise Hospital of Phoenix, Inc. (1318), Promise Hospital of Salt Lake, Inc. (0659),
Promise Hospital of Vicksburg, Inc. (2834), Promise Hospital of Wichita Falls, Inc. (4104), Promise Properties of
Dade, Inc. (1592), Promise Properties of Lee, Inc. (9065), Promise Properties of Shreveport, LLC (9057), Promise
Skilled Nursing Facility of Overland Park, Inc. (5752), Promise Skilled Nursing Facility of Wichita Falls, Inc.
(1791), Quantum Health, Inc. (4298), Quantum Properties, L.P. (8203), St. Alexius Hospital Corporation #1 (2766),
St. Alexius Properties, LLC (4610), Success Healthcare 1, LLC (6535), Success Healthcare 2, LLC (8861), Success
Healthcare, LLC (1604), Vidalia Real Estate Partners, LLC (4947), LH Acquisition, LLC (2328), Promise
Behavioral Health Hospital of Shreveport, Inc. (1823), Promise Rejuvenation Centers, Inc. (7301), Promise
Rejuvenation Center at the Villages, Inc. (7529), and PHG Technology Development and Services Company, Inc.
(7766). The mailing address for the Debtors, solely for purposes of notices and communications, is 999 Yamato
Road, 3rd FL, Boca Raton, FL 33431.


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          The Official Committee of Unsecured Creditors (the “Committee”) of Promise

Healthcare Group, LLC, et al. (collectively, the “Debtors”), by and through its undersigned

counsel, hereby files this supplemental objection (the “Supplemental Objection”) to the Debtors’

Motion For Entry Of Orders (I) (A) Establishing Bidding Procedures Relating To The Sale Of

Certain Of The Debtors’ Assets, Including Approving A Break-Up Fee And Expense

Reimbursement, (B) Establishing Procedures Relating To The Assumption And Assignment Of

Certain Executory Contracts And Unexpired Leases, Including Notice Of Proposed Cure

Amounts, (C) Approving Form And Manner Of Notice Relating Thereto, And (D) Scheduling A

Hearing To Consider The Proposed Sale; (II) (A) Approving The Sale Of Certain Of The

Debtors’ Assets Free And Clear Of All Liens, Claims, Encumbrances, And Interests(B)

Authorizing The Assumption And Assignment Of Certain Executory Contracts And Unexpired

Leases, And (C) Authorizing Success Healthcare 1, LLC To Grant Liens; And (III) Granting

Related Relief [Docket No. 37] (the “Motion”).2 In support of the Supplemental Objection, the

Committee respectfully represents as follows:

                                          INTRODUCTION

          As noted in the Committee’s original objection to the Motion, filed on November 29,

2018 [D.I. 173] (the “Original Objection”), the Debtors’ proposed process for the Sale of the

Silver Lake Debtors’ assets (the “Purchased Assets”) does not encourage competitive bidding for

the benefit of all the stakeholders in these cases. To better understand the Silver Lake Debtors’

pre-Petition and post-Petition sale processes in these cases and determine whether the currently

proposed Bidding Procedures maximize value for the Debtors’ estates, on November 21, 2018,


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  Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Motion,
the Original Objection or the Stalking Horse APA, as appropriate. The Committee incorporates by
reference herein all of the Committee’s arguments made in the Original Objection.



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the Committee propounded discovery upon the Debtors regarding the Motion.3 The Debtors

replied to the document demands on November 27, 2018, producing some of the requested

documents (the “Produced Documents”).4 On November 30, 2018, counsel for the Committee

conducted a deposition of Jay A. Shiland, the partner at MTS Health Partners L.P. (“MTS”),

proposed investment banking advisor to the Silver Lake Debtors (the “Shiland Deposition”), who

had supervisory responsibility for the process leading to the selection of the proposed Stalking

Horse Bidder.

          The Produced Documents and Shiland Deposition corroborate the concerns set forth in

the Original Objection and provide further evidence that the Debtors’ proposed sale process is

not designed to maximize the value of the assets of the Debtors’ estates herein. Specifically, the

Produced Documents and Shiland Deposition demonstrate that:

         The Sale timeline should be extended by at least thirty (30) days to allow interested

          bidders sufficient time to prepare competing bids in light of the no shop provisions in the

          Original Purchase Agreement and the Stalking Horse APA, and the Stalking Horse

          Bidder’s exclusive access to the Debtors’ data room for a substantial period of time;

         The Bid Protections did not induce the Stalking Horse Bidder to enter into the Stalking

          Horse APA; rather the Stalking Horse Bidder had been sufficiently induced to enter into

          the Stalking Horse APA by (i) its desire to purchase the Purchased Assets, (ii) the risk

          that it might lose its $5 million deposit from the Original Purchase Agreement, (iii) the

          significant time and money it had already expended in an attempt to purchase the

          Purchased Assets, and (iv) the guaranty by its parent that the sale would close; and
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    Informal discovery was propounded on November 16, 2018.
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 For example, the Debtors have yet to produce any communications requested by the
Committee.



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          The Bid Protections (to the extent the Debtors are able to meet their burden and establish

           that any breakup fee and/or expense reimbursement are actually necessary to preserve the

           value of the estates herein)5 and the minimum initial overbid should be applied to the net

           cash proceeds of $69,158,448 (less the compulsory expense for tail coverage) under the

           Stalking Horse APA rather than the gross purchase price of $84,150,000.

                                              OBJECTION

      I.         The Sale Timeline Must Be Extended by at Least Thirty Days

           1.       Mr. Shiland’s testimony confirmed that the currently contemplated

approximately two-week period from the entry of the Bidding Procedures Order to the Bid

Deadline is not enough time to properly market the Debtors’ assets and foster a competitive sale

process that maximizes value of the Debtors’ estates. All Sale dates should therefore be

extended by at least thirty (30) days to give potential bidders a reasonable amount of time to

perform diligence, obtain financing and formulate bids. As stated during the Shiland Deposition,

Mr. Shiland, the Debtors’ investment banker tasked with running the Sale process, agreed that

thirty (30) days was a reasonable amount of time in these cases in which to conduct diligence

and submit a bid:

           Q. How much time will potential competing bidders get once you finalize and
           issue your marketing package?

           ...

           Q. My recollection is it's around thirty days or so.

           Q. Is that a reasonable amount of time?

           A. I believe with the information people have at their disposal and the nature of
           the asset itself, that it is.


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    In re Energy Future Holdings Corp., 904 F.3d 298, 313-14 (3d Cir. 2018)



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November 30, 2018 Shiland Deposition Transcript (“Dep. Tr.”) at 161:10-17 (attached hereto as

“Exhibit A”). Despite Mr. Shiland’s recollection, the currently proposed Sale timeline only

affords interested bidders approximately two weeks to submit a bid, which is not a reasonable

amount of time.

          2.    The truncated Sale timeline is especially problematic in light of the Stalking

Horse Bidder’s exclusive access to the Debtors’ data room for a substantial period of time. First,

between July 2017 and February 2018, the number of parties with access to the data room was

reduced to less than seven. Id. at 30:10-32:3. At some point after July 2017, the only two parties

with access to the data room were the Stalking Horse Bidder (referred to as an affiliate of Rollins

Nelson for all periods prior to execution of the Stalking Horse APA on October 24, 2018) and

KPC. Id. at 32:4-21. Further, KPC’s access to the data room terminated sometime in 2017

before execution of the Original Purchase Agreement in February 2018. Id. at 46:2-4 (“Q. At

some point in 2017 KPC no longer had access to the data room? A. Correct.”).

          3.    After KPC’s data room access terminated, the no shop provisions in the Original

Purchase Agreement and Stalking Horse APA came into effect, which precluded the Debtors

from soliciting other bids, entering into any other asset purchase agreement, or even providing

information to any other potential bidder from February 7, 2018 through November 30, 20186—

an almost ten month period.




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 The no shop provision in the Stalking Hose APA might run later than November 30, 2018. Section
7.1(c) of the Stalking Horse APA provides that “following the entry of the Bidding Procedures Order,
Sellers, their Representatives and Affiliates may take the actions prohibited by section 7.1(b).” Thus,
although section 7.1(b) states that the no shop period ends on the earlier of November 30, 2018 and the
date of entry of the Bidding Procedures Order, section 7.1(c) might still prevent the Debtors from
soliciting other bids and/or entering into any other asset purchase agreement until the Bidding Procedures
Order is entered, which will not be before the Bidding Procedures hearing on December 4, 2018.



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          4.     The Original Purchase Agreement contained the following no shop provision:

          From and after the Effective Date until the earlier of the Closing Date or the
          termination of this Agreement, the Seller Parties shall not (and shall cause their
          respective Affiliates and each of their respective officers, directors, employees,
          agents, attorneys, investment bankers and other representatives not to), without
          the prior written consent of Purchaser: (i) offer for sale the Assets (or
          substantially all of the Assets) or any ownership interest in any entity owning any
          of the Assets (by merger, consolidation, sale of assets, or other form of transaction
          that results in a change in control) or that would make the Transactions
          impractical or unfeasible, (ii) solicit offers for any such transaction, (iii) hold
          discussions with any Person (other than Purchaser or any Affiliate of Purchaser)
          related to any such transaction or (iv) enter into any agreement or other
          understanding with any Person (other than Purchaser or any Affiliate of
          Purchaser) with respect to any such transaction.

Original Purchase Agreement, § 4.6 (emphasis added).

          5.     The no shop provision (without a fiduciary out) pursuant to the Original Purchase

Agreement thus came into effect on February 7, 2018 and terminated on October 24, 2018, after

which date the no shop provision in the Stalking Horse APA contemporaneously came into effect

and lasted until at least November 30, 2018. See Stalking Horse APA, Recitals, ¶ F; Dep. Tr. at

105:12-16; 105:24-106:5 (“Q. So that no shop clause was honored continuously from February

of 2018 to October 24, 2018? A. To my knowledge, that's correct . . . A. My understanding is by

operation of the contract, it was terminated and the stalking horse bid replaced that contract in

terms of the - - the APA was no longer in force and effect and the stalking horse bid was then put

in place.”).

          6.     During this almost ten month no shop period, an affiliate of Rollins Nelson (who

became the Stalking Horse Bidder) had exclusive access to the Debtors’ information:

          Q. Of Rollins, of the forty-one potential financial and strategic partners that you
          initially contacted other than Rollins, which, if any, have had access to the data
          room since February 7, 2018?

          A. None. Pursuant to the terms of the APA, we were not allowed to give access to
          anybody else to the data room.



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          Q. So is it fair to say that access to the data room between February 7, 2018 and
          October 24, 2018 - - we can talk about what happened after October 24 - - was
          limited to the debtors and their professionals and consultants and Rollins and its
          professionals and consultants?

          A. That's correct. And to be clear, that was pursuant to the contractual obligations
          of the debtors under the APA.

          Q. Contractual obligations which precluded the debtors from having any even
          conversations with anybody else about a potential transaction with regard to the
          assets; is that correct?

          A. Pursuant to the terms of the document, we were prohibited from talking to
          anybody else about the transaction.

          Q. Can we call that the no shop clause?

          A. Yes.

          Q. Is that fair?

          A. Yes.

          Q. Would you prefer a different name?

          A. I think it' s well stated.

Dep. Tr. at 25:4–26:17.

          7.      Even on a post-Petition basis, as noted in the Original Objection, the Strategic

Objection and Strategic’s supplemental objection to the Motion [D.I. 166] (the “Strategic

Supplemental Objection”), when Strategic, an affiliate of KPC, requested information from the

Debtors to use in formulating its bid, the Debtors cited the no shop provision in the Stalking

Horse APA and did not cooperate with KPC in providing up-to-date financial information.

Recent financial information was only added to the data room as of November 30, 2018. Id. at

122:7-15 (“Q. And is the data room up-to-date? A. It is as of today, yes. Q. Was it up-to-date as

of two days ago? A. Additional information was still coming from the company quite slowly but

yes, it is up-to-date as of today.”) (emphasis added).




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          8.     Without access to the Debtors’ recent financial information, it appears that

Strategic was clearly disadvantaged in performing due diligence and preparing a bid, especially

given the condensed Sale timeline in these cases. See Dep. Tr. at 21:22-22:1 (“[A]s part of

getting to an APA and filling out schedules and agreeing upon the underlying data in the

schedules, constant updating [of the data room] was required to get to that APA.”).

          9.     Especially troubling in the Debtors’ failure to provide Strategic with up-to-date

information, is that Strategic is a very interested bidder, Strategic Objection, ¶ 1, that submitted a

pre-Petition bid with a higher net enterprise value than that submitted by an affiliate of Rollins

Nelson. Mr. Shiland explained the concept of “net enterprise value” in the Shiland Deposition:

          Q. What does [the phrase “net enterprise value”] mean? What does that mean in
          your declaration?

          A. . . . It was the net proceeds to the company after adjustments that varied among
          the bidders. So for example, some bidders said we're not going to take care of
          certain liabilities, they're yours to deal with. Others said we'll take care of all
          liabilities. As you can see in the waterfall on Exhibit 2, Shiland 2, we made
          adjustments for those.

          ....

          Q. So in comparing bids, what is the significance of what you called net enterprise
          value and here you call net cash before defalcation Wells Fargo and Success
          payables which were a constant against all the bids? So what was the significance
          of that in comparing the bids, the net cash or the net enterprise value, depending
          on how you want to call it?

          A. To allow the board to make a like-to-like comparison of the bids that had
          otherwise different terms.

          Q. Why is that important?

          A. To assist in their decision-making to understand what they're actually looking
          at normalized, if you will, for the variations that there are between bids.

Id. at 37:4-21; 38:18-39:11.

          10.    In the Summary Bid Analysis, dated July 26, 2017, attached to the Dep. Tr. as

Exhibit 2, the net enterprise value for the Rollins Nelson affiliate bid was $51.8 million, while


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the net enterprise value for the KPC bid was $60.3 million. The Debtors ultimately discounted

the KPC bid because they did not believe that KPC performed the same level of diligence as

Rollins Nelson. See id. at 39:20 – 40:12 ( Q. What would those other metrics be? A. The level of

work done by each of the bidders as part of the process as an indication of both their seriousness,

their knowledge of what they're bidding for, and ultimately our confidence in their ability to get

to a signed purchase agreement and close.”). However, KPC, unlike Rollins Nelson, was

currently in the business of managing hospitals and may not have needed to perform the same

level of diligence to understand certain aspects of the transaction. See id. at 60:4-8 (“Q. Is it fair

to say that KPC is an experienced hospital operator? A. They have been doing it for a long time.

If that's experienced, yes, they would be experienced . . . Q. What about Rollins-Nelson? How

many hospitals does Rollins-Nelson operate? A. At this time, none.”).

          11.   Further, the Debtors recognized that KPC had the financial ability to close, yet

still labelled KPC’s bid “speculative” and selected Rollins Nelson’s affiliate as the purchaser.

See id. at 53:24- 54:4; 54:16-20 (A. To be very blunt, KPC was in the running throughout

because they had interest in the hospital, they had an ability to pay, not a demonstrated ability in

the past to pay but an ability to pay per se . . . Q. Why did you not consider KPC to be a valid

competitor to Rollins-Nelson? A. They did no work in the second round.”); Id. at 67:22-68:1

(“Q. I asked you which one had the better financial resources. A. I would believe that the

KPC.”).

          12.   Post-Petition, Strategic filed the Strategic Objection and the Strategic

Supplemental Objection, stating that “Strategic is a serious bidder, but it needs at least 30 days in

which to conduct due diligence and properly formulate its bid.” Supplemental Strategic

Objection, ¶ 10. The Committee supports a request for a thirty (30) day extension of the Sale




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dates so all interested parties can formulate a bid with the potential to generate value for the

Debtors’ estates and a level playing field be established.7

            13.      Further, as of the date of filing this Supplemental Objection, the Debtors have still

not begun the marketing process with respect to the Purchased Assets nor are the marketing

materials complete:

            A. We have not begun our marketing process which includes a set of materials
            updated, a CIM, if you will, a confidential information memorandum which has
            detailed information as to the company and as to the stalking horse bid and how it
            from this document here translates that to numbers.

Dep. Tr. at 123:14-22.

            Q. So the material exists but you said it wasn't finished?

            A. Well, the company continues to update that information for us.

            Q. So it' s not finished?

            A. Well, it is 97.5 percent finished.

Id. at 124:6-12.

            A. . . . We've not started outreach to folks providing them with Materials from us
            that lay out the business and lay out the bogey for them to it.

Id. at 137:9-13.

            14.      As such, all the Sale deadlines should be extended by at least thirty (30) days to

give the Debtors time to complete their marketing process and give interested bidders adequate

time to perform due diligence, obtain financing and submit bids.

      II.         The Bid Protections Did Not Induce the Stalking Horse Bidder to Enter into the
                  Stalking Horse APA

            15.      As discussed in the Original Objection, the Bid Protections did not induce the

Stalking Horse Bidder to enter into the Stalking Horse APA and thus the Stalking Horse Bidder


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    To the extent possible, based on the no-shop provisions.



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is not entitled to the Bid Protections. See In re Energy Future Holdings Corp., 904 F.3d 298,

313 (3d Cir. 2018) (a breakup fee could provide a benefit to the debtor’s estate “if assurance of a

break-up fee promoted more competitive bidding, such as by inducing a bid that otherwise would

not have been made and without which bidding would have been limited”).

          16.    Here, the Stalking Horse Bidder was already committed to purchasing the

Purchased Assets and seamlessly transitioned from the Original Purchase Agreement into the

Stalking Horse APA to account for the Debtors’ chapter 11 filings. Id. at 73:15-17 (A. The

Rollins APA became the stalking horse bid over a period of time.”). No gap period existed

between the two purchase agreements:

          Q. So the stalking horse bid replaced the Rollins APA?

          ....

          THE WITNESS: My understanding is, and there may be some small carryover
          items, but my understanding is, in sum and substance, the stalking horse APA
          replaces the rights and obligations the debtors have under the original Rollins
          APA.

          Q. Was there a gap between the two? Was there a termination and then - - I ' m
          not talking about a couple of minutes.

          A. Not to my knowledge.

          Q. No gap?

          A. Not to my knowledge.

Id. at 106:6-25.

          17.    Critically, the Stalking Horse Bidder willingly transitioned from the Original

Purchase Agreement to the Stalking Horse APA (and would have done so without the Bid

Protections) because (i) if it walked away from the deal, the Stalking Horse Bidder had the

potential to lose its $5 million deposit from the Original Purchase Agreement, (ii) it wanted the

Purchased Assets, as demonstrated by the amount of capital and time expended in negotiating the


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Original Purchase Agreement, and (iii) its affiliated entity—Rollins Nelson—entered into an

agreement, dated February 7, 2018, with Silver Lake Debtors, guaranteeing the closing of the

Original Purchase Agreement (the “Guaranty Agreement,” attached as Exhibit 5 to the Dep. Tr.).

Mr. Shiland explained these factors in the Shiland Deposition:

          Q. And they never left the table; did they?

          A. They did not.

          Q. In fact, they never terminated the Rollins February, 2018 APA and said we're
          out of here unless you give us bid protections; did they?

          A. They did not. And there's a reason for that.

          Q. What's the reason for that? I'll bite.

          A. Thank you. We have $5 million of their money which we had negotiated to
          receive into the estate and fight about it later if the deal was terminated. So we
          had essential a bit of a hammer over them to ensure their, at least for $5 million
          difference in value, ensure their attention and to the extent they want to buy this
          asset, that they would negotiate in good faith.

          ....

          Q. They probably could have [terminated] but they didn't. And you're saying well,
          one of the reasons maybe they didn't is we were holding five million and they
          didn't want to leave five million on the table?

          A. That' s correct, and they want the asset.

          Q. They want the asset? How do you know they want the asset?

          A. Because nobody would expend the amount of capital and time, in my opinion,
          based upon my experience, unless they want the asset. This is not a casual fishing
          expedition to see if they can get a deal. This was a very earnest attempt to buy the
          asset.

          Q. Does it remain an earnest attempt to buy the asset?

          A. I believe so.

Id. at 148:17-149:13; 150:1-21.

          Q. And why was it important to have a guaranty?




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           A. Because we believe that performance of their obligation of the contract,
           this was important to have as part of assuring ourselves they could
           perform. Just to further amend my answer, to be very clear, at the time of
           the signing of the APA their financing was still in process and so we felt
           like that was required to assure ourselves and hold their feet to the fire
           regarding performance.

           Q. Performance of what?

           A. The APA.

Id. at 89:3-18; see also Guaranty, ¶ 2 (“Guarantor hereby absolutely, unconditionally and

irrevocably guaranties to the Seller Parties, and their successors and assigns, the full, prompt and

complete performance when due of all obligations of Purchaser under the Asset Sale Agreement

and each of the Transaction Documents . . . . The Obligations specifically include, without

limitation . . . the obligation of Purchaser to complete the Closing on the terms, and subject to

the conditions, of the Asset Sale Agreement.”).

    III.         The Bid Protections, if Appropriate, and the Minimum Initial Overbid Should
                 be Applied to the Value of the Net Cash Proceeds from the Stalking Horse APA

           18.      As demonstrated in the September 4, 2018 Silver Lake Transaction Waterfall,

attached as Exhibit 12 to the Dep. Tr. (the “Waterfall”), the “net cash proceeds at closing” from

the Stalking Horse APA are $69,158,448. This is the maximum amount against which the Bid

Protections, to the extent necessary and/or appropriate, and minimum initial overbid should be

measured.

           19.      The “net cash proceeds at closing” accounts for certain deductions to the

$84,150,000 purchase price described in the Waterfall, such as purchase price adjustments and

the $8.1 million Seller Note. As noted in the Shiland Deposition, the Seller Note “acts as a

basket against reps and warranties in the document[,]” thus providing protection for the Stalking

Horse Bidder. Dep. Tr. at 159:2-4; 160:5-7. (“Q. It' s a protection for the buyer; correct? A.

That's correct.”). To use the value of the Seller Note as both a means of protection and a means


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to increase the calculation of the Bid Protections and overbid increment is double-dipping by the

Stalking Horse Bidder. The “net cash proceeds at closing” from the Stalking Horse APA thus

reflects the most accurate number from which to base the Bid Protections, if necessary, and the

minimum overbid.

          20.   As such, the Breakup Fee, to the extent necessary or appropriate in these cases,

should be limited to not more than 3% of $69,158,448 ($2,074,753.44) – and should be

substantially less taking into account all of the relevant circumstances as described herein,

including that it did not serve as an inducement to the Stalking Horse Bidder to execute the

Stalking Horse APA. The Expense Reimbursement should be capped at 1% of $69,158,448

($691,584.48) for any reasonable, actual and necessary expenses related solely to the negotiation

and documentation of the Stalking Horse APA; not expenses related to the Original Purchase

Agreement.

          21.   Finally, if a potential bidder proposes to purchase the same assets as are the

subject of Stalking Horse APA, the minimum initial overbid should be a combination of cash and

assumed liabilities equal to: (i) $69,158,448, not subject to any downward purchase price

adjustments, indemnity obligations of the Debtors, or the requirement that the Debtors purchase

any tail policy, (ii) plus $500,000 overbid increment (rather than $1 million proposed by the

Debtors), and (iii) plus the Bid Protections described above, to the extent necessary and in an

amount appropriate in the discretion of this Court.

          22.   In addition, the bidding procedures should afford maximum flexibility for the

Debtors, in consultation with the Committee and the DIP Lender, to analyze and value various

bid structures as Qualified Bids. This is consistent with Mr. Shiland’s description of the type of

bids that should constitute Qualified Bids:




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          Q. . . . I'm going to give you three hypotheticals and ask you if this would be a
          qualified bid. Hypothetical A: A bidder bids cash in the amount of $40 million
          with no purchase price adjustments, cure amounts paid by the buyer, QAF and
          AR excluded, and the seller is not required to pay an insurance tail. Is that a
          qualified bid?
          ....

          A. . . . I'll tell you that given the scenario you've given me, however, if your
          question is whether that would be in the neighborhood, I think it would be in the
          neighborhood.

Id. at 125:21-126:5; 127:12-16.

                                   RESERVATION OF RIGHTS

          23.    The Committee reserves the right to raise further and other objections to the

Motion prior to or at the hearing thereon based upon further discovery.




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          WHEREFORE, the Committee respectfully requests that the Court deny the Motion, or

alternatively, approve modified Bidding Procedures that address the Committee’s concerns.


Dated: December 3, 2018
                                              /s/ Colin R. Robinson
                                              Jeffrey N. Pomerantz (CA Bar No. 143717)
                                              Bradford J. Sandler (DE Bar No. 4142)
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